                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


NOVO NORDISK, INC.,                         )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )   NO. 3:23-cv-00668
                                            )
DCA PHARMACY,                               )
                                            )
       Defendant.                           )

                                       ORDER

      The Alliance for Pharmacy Compounding Motion for Leave to File Amicus Brief (Doc.

No. 29) is GRANTED.

      IT IS SO ORDERED.


                                        ____________________________________
                                        WAVERLY D. CRENSHAW, JR.
                                        CHIEF UNITED STATES DISTRICT JUDGE




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